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                                                            April 9, 2018

   VIA ECF
   Magistrate Judge A. Kathleen Tomlinson
   United States District Court
   Eastern District of New York
   Long Island Courthouse,
   100 Federal Plaza
   Central Islip, New York 11722

           Re:        Quintanilla, et al. v. Suffolk Paving Corp., et al
                      Civil Action No. 09 Civ. 5331 (AKT)

   Hon. Magistrate Judge Tomlinson:

          I write to respectfully request that this court provide the parties with proposed dates by
   which to schedule a trial in this action.

          Of the dates that this court had previously provided for a possible trial of this action in
   2017 [see DN 155], the parties were unable to unable to agree on mutually convenient dates.

                                                    Respectfully submitted,

                                                            /s/

                                                    Ian F. Wallace

   cc:     Saul Zabell (via ECF)
           Attorney for Defendants
